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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Kenneth Gannaway
                                  Plaintiff,
v.                                                      Case No.: 1:18−cv−00644
                                                        Honorable Sara L. Ellis
Comenity Capital Bank
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 4, 2018:


       MINUTE entry before the Honorable Sara L. Ellis: Pursuant to joint stipulation of
dismissal (doc. #[18]), this action is dismissed with prejudice and without costs to either
party pursuant to Fed. R. Civ. P. 41. Civil case terminated. Mailed notice(rj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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